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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

TRAVELERS PRGPERTY CASUALTY

 

COl\/IPANY OF AMERICA,
Plalntlff, Civil Action No.:

agamst coMPLAINT FOR DECLARATORY
OCEAN REEF CHARTERS LLC and JUDGMENT IN ADMIRALTY
STONEGATE BANK
Defendant.

 

Plaintiff, Travelers Property Casualty Company of America (“Travelers”), by its
attorneys, Duane l\/Iorris LLP, as and for its Complaint against defendant Ocean Reef Charters,
LLC (“Ocean Reef”) alleges on information and belief as follows:

JURISDICTION AND VENUE

l. Plaintiff brings this action for a declaratory judgment pursuant to 28 U.S.C. §
220l §_t s_eg. and Rule 57 of the Federal Rules of Civil Procedure.

2. This is an admiralty and maritime claim Within the meaning of Rule 9(h) of the
Federal Rules of Civil Procedure and within the admiralty jurisdiction of this Court pursuant to
28 U.S.C. § 1333.

3. The Court’sjurisdiction also is based on 28 U.S.C. § 1332. The citizenship ofthe
parties is diverse and the amount in controversy exceeds $75,000 exclusive of interest and costs.

4. Venue is proper in this district pursuant to 28 U.S.C. § 1391.

PARTIES

5. Plaintiff Travelers is a legal entity organized and existing under the laws of
Connecticut With an office and principal place of business at One Tovver Square, Hartford,

Connecticut 06183~1190, and is in the business of vvriting, inter alia, marine insurance

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6. Upon information and belief, defendant Ocean Reef is a Florida Limited Liability
Company With an office and principal place of business at 45 Cedarfield Common, Suite #FA,
Rochester, Nevv Yorl< l46l2.

7. Upon information and belief, defendant Stonegate Bank is a Florida corporation
With an office in Pompano Beach, Florida.

FACTS

8. Travelers issued Quay Yacht Policy of lnsurance No. ZYM-21N30664~l6-ND
effective October l(), 2016 to October lO, 2017 to Ocean Reef Chartei's LLC covering a l998 92’

Hatteras yacht (the “Policy”).

9. A copy of the Policy is Exhibit l hereto, and is incorporated herein as if set forth
at length.
lO. Stonegate Banl< is identified as a loss payee on the Policy.

ll. The Policy provides $2,00(),000 of insurance for accidental direct physical loss of
or damage to the vessel subject to deductible
12. The Policy coverage contains a Captain Warranty:

CAPTAIN WARRANTY

Date lssued: 08/10/l6 Policy No: ZYl\/I-2lN30664-
l6-ND

lnsured: OCEAN REEF CHARTERS LLC

Name of Company: Travelers Property Casualty Company of
America

Effective Date: lO/ l 0/l 6

 

lt is Warranted you employ a professional captain for the yacht
shown on the Declarations Page of this policy. Such captain shall
be employed full time and approved by us. We Will pay up to
$1,500 for the cost of hiring a replacement captain, approved by

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14.

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us, if your captain is unable to perform his regular duties due to a
medically certified cause.

All other terms and conditions remain unchanged.
The Policy coverage contains a Crew Warranty:

CREW WARRANTY

Date lssued: 08/10/l6 Policy No: ZYM-21N30664-
l6-ND

lnsured: OCEAN REEF CHARTERS LLC

Name of Company: Travelers Property Casualty Company of
America

Effective Date: lO/l 0/1 6

 

You employ l full time or part time professional crew for your
yacht shown on the Declarations Page of this policy. We also
provide coverage for any additional, temporary, crew you employ.

All other terms and conditions remain unchanged

The Policy coverage contains a Named Storm Deductible Endorsement:

NAMED STORM DEDUCTIBLE ENDORSEMENT

Date lssued: 08/lO/l6 Policy No: ZYl\/l-21N30664-
l6-ND

lnsured: OCEAN REEF CHARTERS LLC

Name of Company: Travelers Property Casualty Company of
America

Effective Date: 10/10/16

When your yacht is located south of 350 north latitude between
June lSt and November l5th, and your yacht is in an area where a
watch or warning will be declared within the next forty eight (48)
hours or has been declared for a Named Storm, the Deductible
amount shown on the Declarations Page of this policy is increased
to FlVE percent 5% of the Physical Damage amount of insurance
shown on the Declarations Page of this policy, for any loss or
damages cause[d] by, contributed to by or in any way resulting,

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directly or indirectly from a named storm as defined by the
National Oceanic and Atmospheric Administration (NOAA).

All other terms and conditions remain unchanged.

l5. Ocean Reef claims that the vessel was damaged in September, 2017.
l6. Ocean Reef claims that the damage was caused directly or indirectly by a named

storm, Hurricane IRl\/IA.

l7. At all relevant times, Ocean Reef did not employ a professional captain for the
vessel.

l8. At all relevant times, Ocean Reef did not employ a full time captain for the vessel.

l9. At all relevant times, there was no approved captain for the vessel.

2(). At all relevant times, there was no captain on board the vessel.

21. At all relevant times, there was no professional crew employed by Ocean Reef.

22. At all relevant times, there was no professional crew aboard the vessel.

23. Ocean Reef further claimed for the cost of raising the vessel.

24. Ocean Reef requested that Travelers make an advance payment to fund the raising

of the vessel.

25. Travelers agreed to advance payment for the raising of the vessel subject to a
complete reservation of rights, including the right to seek reimbursement

26. lf the insurance were not in effect, there would be no basis for Travelers to agree
or to advance payment for Ocean Reef s obligation to raise the vessel.

27. Ocean Reef received the benefit of Travelers’ payment.

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FIRST CAUSE OF ACTION

28. Travelers repeats and realleges each and every allegation contained in paragraphs
l through 27 of the Complaint as if fully set forth herein.

29. The Policy is subject to a Captain Warranty requiring Ocean Reef to employ a full
time captain approved by Travelers.

30. At all relevant times, Ocean Reef did not employ a full time captain approved by
Travelers.

3l. Travelers requests that this Court declare the Policy does not provide coverage for
the claimed damage to the vessel and/or costs of raising the vessel as a result of Ocean Reef’ s
breach of the Policy Captain Warranty.

SECOND CAUSE OF ACTION

32. Travelers repeats and realleges each and every allegation contained in paragraphs
l through 31 of the Complaint as if fully set forth herein.

33. The Policy is subject to a Crew Warranty endorsement requiring Ocean Reef to
employ l full time or part time professional crew.

34. At all relevant times, Ocean Reef did not employ a full time or part time
professional crew.

35. Travelers requests that this Court declare the Policy does not provide coverage for
the claimed damage to the vessel and/or costs of raising the vessel as a result of Ocean Reef" s
breach of the Policy’s Crew Warranty.

THIRD CAUSE OF ACTION
36. Travelers repeats and realleges each and every allegation contained in paragraphs

l through 35 of the Complaint as if fully set forth herein.

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37. The Policy coverage is subject to the Named Storm Deductible Endorsement.

38. Ocean Reef claims the damage to the vessel and/or costs of raising the vessel
were caused or contributed to by a named storm.

39. Travelers requests that this Court declare the Policy Named Storm Deductible
applies to Ocean Reefs recoverable claim, if any.

FOURTH CAUSE OF ACTION

40. Travelers repeats and realleges each and every allegation contained in paragraphs
l through 39 of the Complaint as if fully set forth hereiri.

41. The claimed damage to the vessel and/or costs of raising the vessel are not the
type of claim covered under the Policy and thus the claim must be denied.

42. By reason of the foregoing, the claim is not covered under the Policy, and
Travelers requests the Couit declare that Travelers is relieved from any obligation to Ocean Reef
with respect to the claimed damage to the vessel and/or costs of raising the vessel.

FIFTH CAUSE CF ACTION

43. Travelers repeats and realleges each and every allegation contained in paragraphs
l through 42 of the Complaint as if fully set forth herein.

44. Ocean Reef has been unjustly enriched by Travelers’ payment of the cost of
raising the vessel, none of which has been repaid to Travelers despite due demand.

45. Travelers is entitled to recover the amounts paid to raise the vessel, plus interest

and costs.

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WHEREFORE, plaintiff Travelers Property Casualty Company of America requests that
this Court Order issue judgment declaring:

(A) Ocean Reef LLC’s violation of the Policy’s Captain Warranty precludes
coverage for the claimed damage to the vessel and/or costs of raising the
vessel;

(B) Ocean Reef LLC’s violation of the Policy’s Crew Warranty precludes
coverage for the claimed damage to the vessel and/or costs of raising the
vessel;

(C) Ocean Reef LLC’s claims are not covered under the Policy and Travelers has
no obligation under the Policy for the claimed damage to the vessel and/or
costs of raising the vessel;

(D) ln the alternative, the Policy Named Storm Deductible applies to Ocean
Reefs recoverable claim, if any;

(E) Travelers is entitled to recover the amounts paid to raise the vessel, plus
interest and costs;

(F) That Travelers shall recover the costs, disbursements and reasonable fees of

this action; and

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(G) For such other and further relief as the Court deems appropriate

Dated: Newark, New Jersey
September 26, 2017
DUANE MORRIS L

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